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AO 245 SOR (Rev. 09/15) Judgment in a Criminal Case

Attachment (Page l) _ Statement of Reasons

DEFENDANT; JOSEPE BENSON
cAsENUMBER; 150R10149-3-sz
DISTRlcT; MASSAcHusETTs

l.

III.

STATEMENT OF REASONS

Sections [, 1], II[, 1 V, and VII of the Statement of Reasons form must be completed in all felony and Class A misdemeanor cases.

COURT FINDINGS ON PRESENTENCE lNVESTIGATION REPORT

A. The court adopts the presentence investigation report without change.
B. I:l The court adopts the presentence investigation report with the following changes: (Use Section VIII ifnecessary)
(Check all that apply and specij§) court determination, findingsl or comments referencing paragraph numbers in the presentence report)
l. l:] Chapter Two of the United States Sentencing Commission Guidelines Manual determinations by court1 (briejly
summarize the changes, including changes to base Q#ense level, or specific o_@ense characteristics)

2. [:I Chapter Three of the United States Sentencing Commission Guidelines Manual determinations by court: (brt'ejiy
summarize the changes including changes to victim-related adjustments role in the o_,@"ense, obstruction of justice, multiple counts, ar acceptance of
responsibilig))

3. l:\ Chapter Four of the United States Sentencing Commission Guidelines Manual determinations by court: (briejly
summarize the changes including changes to criminal history category or scores, career efender status, or criminal livelihood determinations)

Addiinllal Commellfs Or Findings: (include comments or factual findings concerning any information in the presentence report,

4. including information that the Federal Bureau of Prisons may rely on when it makes inmate classificationl designation or programming decisions;
any other rulings on disputed portions of the presentence investigation report; identification of those portions of the report in dispute but for which a
court determination is unnecessary because the matter will not affect sentencing or the court will not consider it)

C' [:] The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.
Applicabl€ Sentencing Guideline! (i_`fmore than one guideline applies, list the guideline producing the highest ojense level)

COURT FINDlNGS ON MANDATORY MINIMUM SENTENCE (Check all that apply)

A. One or more counts of conviction carry a mandatory minimum term of imprisonment and the sentence imposed is at or
above the applicable mandatory minimum term.

B. l:\ One or more counts of conviction carry a mandatory minimum term of imprisonment, but the sentence imposed is below
the mandatory minimum term because the court has determined that the mandatory minimum term does not apply based on:

I:I findings of fact in this case: (Specij»)

 

 

I:I substantial assistance (18 U.S.C. § 3553(¢))
|:| the statutory safety valve ha U.s.c. § 3553(»)

C. [:I No count of conviction carries a mandatory minimum sentence

COURT DETERMlNATION OF GUIDELINE RANGE: (BEFOREDEPARTURES OR VARIANCES)

Total Offense Level: 21

Criminal History Category: l|l
Guideline Range: after application af§sGl.t and §501.2) 60 to months
Supervised Release Range: 4 to years
Fine Range: $ 7,500 to $ 5000000

 

 

 

Fine waived or below the guideline range because of inability to pay.

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AO 245 SOR (Rev. 09/15) Judgment in a Criminal Case
Attachment (Page 2) - Statement of Reasons

 

DEFENDANT: JOSEPH BENSON
CASE NUMBER: 15CR10149-3-RWZ
DISTRICT: MASSACHUSETTS

STATEMENT OF REASONS
lv. GUIDELINE sENTENClNG DETERMINATloN (check an thaiappiy)

A. [ZI The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
does not exceed 24 months.

B. [:l The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
exceeds 24 months, and the specific sentence is imposed for these reasons: (Use Section Vllt ifnecessa)y)

 

C, I:I The court departs from the guideline range for one or more reasons provided in the Guidelines Manual.
(Also complete Section V)
D. I:] The court imposed a sentence otherwise outside the sentencing guideline system (i.e., a variance). (Alsa complete Secn¢m Vt)

V. DEPARTURES PURSUANT TO THE GUIDELINES MANUAL (ifapplicable)

‘A. The sentence imposed departs: (Check only one)
I:l above the guideline range
[:l below the guideline range

B. Mofiol\ fOl' departure befOr€ the COlll'f pursuant fO! (Check all that apply and specify reason(s) in sections C and D)

l. Plea Agreement

I:] binding plea agreement for departure accepted by the court

m plea agreement for departure, which the court finds to be reasonable

l:] plea agreement that states that the government will not oppose a defense departure motion
2. Motion Not Addressed in a Plea Agreement

[] government motion for departure

I:I defense motion for departure to which the government did not object

l:\ defense motion for departure to which the government objected

[:l joint motion by both parties
3. Other

I:] Other than a plea agreement or motion by the parties for departure

C. Reasons for departures (Check all that apply)

\:I 4Al.3 CriminalHistorylnadequacy I:] 5K2.l Death [:\ 5K2.12 Coercion and Duress
I:] 5Hl.l Age l:] 5K2.2 Physicallnjury l:l 5K2.l3 Diminished Capacity
\:] 5Hl.2 Education and VocationalSkills l:l 5K2.3 Extreme Psychological l:l 5K2.14 Public Welfare
Injury
I:] 51-11.3 Mental and Emotional Condition I:I 5K2.4 Abduction or Unlawful I:I 5K2.16 Voluntary Disclosure of Offense
Restraint
[:l 5Hl.4 PhySiCalCOnditiOn |:l 5K2.5 §roperty Damage or l:l 5K2.l7 High-Capaclty Semiaufomatic Weapon
oss
[:I 5Hl.5 EmploymentRecord I:I 5K2.6 Weapon [:l 5K2.18 Violent Strcet Gang
|:| 51-1]_6 Family Ties and Responsibilities |:| 5K2_7 Disruption of [:| 5K2,20 Aben-am Behavior
Govemment Function
I___I 5Hl.ll Military Service I:l 5K2.8 Extreme Conduct I:] 5K2.21 Dismissed and Uncharged Conduct
[:l 5Hl.ll Charitable Service/Good Works I:I 5K2.9 Criminal Purpose m 5K2.22 Sex Offender Characteristics
I:l 5K1.1 SubstantialAssistance I:I 5K2.10 Victim’s Conduct l:\ 5K2.23 Dischtnged Terms of Imprisonment
\:I 5K2.0 Aggravating/Mitigating 13 5K2.Il Lesser Harm |:\ 5K2.24 Unauthorizedlnsignia
Circumstances I:] 5K3.l Early Disposition Program (EDP)
|:l

Other Guideline Reason(s) for Departure, to include departures pursuant to the commentary in the Guidelines Manual: (see "Lisr of
Departure Provisions " following the lndex in the Guidelines Manual.) (Please specify

D. State the basis for the departure. (Use Section V!ll ynecessa)y)

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AO 245 SOR (Rev. 09/ 15) Judgment in a Criminal Case
Attachment (Page 3) ~ Statement of Reasons

DEFENDANT; JOSEPH BENSON
CASE NUMBER; 15CR10149-3-RWZ
DISTRICT; MASSACHUS ETTS

STATEMENT OF REASONS

VI. COURT DETERMINATION FOR A VARIANCE Ufapplicable)
A. The sentence imposed is: (Check only one)
[:] above the guideline range
l:] below the guideline range

B. Motion for a variance before the court pursuant to: (Check all that apply and spectfv reason(s) in sections C and D)
l. Plea Agreement
I:l binding plea agreement for a variance accepted by the court
I:I plea agreement for a variance, which the court finds to be reasonable

[:l plea agreement that states that the government will not oppose a defense motion for a variance
2. Motion Not Addressed in a Plea Agreement

m government motion for a variance

I:I defense motion for a variance to which the government did not object

I:l defense motion for a variance to which the government objected

I:l joint motion by both parties
3. Other

l:\ Other than a plea agreement or motion by the parties for a variance

C. 18 U.S.C. § 3553(a) and other reason(s) for a variance (Check all that apply)
Ij The nature and circumstances of the offense pursuant to 18 U.S.C. § 3553(a)(1):
[:l Mens Rea I:I Extreme Conduct I] Dismissed/Uncharged Conduct
I___] Role in the Offense I:l Victim Impact
\:I General Aggravating or Mitigating Factors: (Spectj`y)

 

l:l The history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(l):

 

l:l Aberrant Behavior [:] Lack of Youthful Guidance
I:I Age l:l Mental and Emotional Condition
[:] Charitable Service/Good [___| Mi]itary Service
Works
\:] Community Ties I:] Non-ViolentOffender
\:] Diminished Capacity ij PhysicalCondition
[:I Drug or Alcohol Dependence [:] Pre-sentence Rehabilitation
[:} Employment Record ij Remorse/Lack of Remorse
[:I Family Ties and l:l Other:(Specy’y)
Responsibilities

 

Issues with Criminal History: (Spectjjt)

 

To reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense
(18 U.S.C. § 3553(a)(2)(.4))

To afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))

To protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2) (C))

To provide the defendant with needed educational or vocational training (18 U.S.C. § 3553(a)(2)(D))

To provide the defendant with medical care ( 18 U.S.C. § 3553 (a)(2)(D))

To provide the defendant With other correctional treatment in the most effective manner (18 U.S.C. § 3553(a)(2)(D))
To avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6)) (Spectjj) in section D)

To provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))

Acceptance of Responsibility m Conduct Pre-trial/On Bond l:\ gool;:t¥:fion Without GOV€mment MOtiOn fm
ep re

Early Plea Agreement l:] Global Plea Agreement
Time Served (not counted in sentence) [:] Waiver of Indictment I:I Waiver of Appeal
Policy Disagreement with the Guidelines (Kimbrough v. U.S., 552 U.S. 85 (2007): (Spectfv)

ljl:l|:| l:||j|:||:l|j|:ll:l|:l l:l

 

 

L__l Other: (Specij))

 

D. State the basis for a variance. (Use Section VIII t'fnecessary)

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Attachmcnt (Page 4) 1- Statemcnt of Reasons

 

DEFENDANT: JOSEPH BENSON
CASE NUMBER; 150R10149»3-RWZ
DlsTRICT: MASSACHUSETTS
STATEMENT OF REASONS

Vll. COURT DETERM|NAT[ONS OF RESTlTUTION

A. lz] Restitution not applicable

B. Totalamountofrestitution: $

 

C. Restitution not ordered: (Check onlyone)

|. \:\ For offenses for which restitution is otherwise mandatory under i8 U.S.C. § 3663/-\, restitution is not ordered because
the number of identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).

2. l:] For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered
because determining complex issues of fact and relating them to the cause or amount of the victims’ losses would
complicate or prolong the sentencing process to a degree that the need to provide restitution to any victim would be
outweighed by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).

3. E] For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing
guidelines, restitution is not ordered because the complication and prolongation of the sentencing process resulting
from the fashioning of a restitution order outweigh the need to provide restitution to any victims under 18 U.S.C. §
3663(a)(l )(B)(ii).

4. E] For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
3663A, restitution is not ordered because the victim(s)‘(s) losses were not ascertainable (18 U.S.C. § 3664(d)(5)).

5. I:] For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
3663A, restitution is not ordered because the victim(s) elected to not participate in any phase of determining the
restitution order (18 U.S.C. § 3664(g)(1)).

6. l:l Restitution is not ordered for other reasons: (Explain)

 

D. I:] Partial restitution is ordered for these reasons: (18 U.S.C. §3553(¢))

Vlll. ADDlTlONAL BASlS F()R THE SENTENCE IN THIS CASE (.y’app!r'cable)

Defendant’s Soc. Sec. No.: XXX-XX-XXXX Date of Imposition of Judgment: 08/03/2017

Defendant’s Date of Birth; 1981 UML 3 w
Sigr\{tjre ofJudge

Bost°"' MBSS' Rya W. Zobei, District Judqe
Name and Title of Judge

r" " '_ _ _ `_ j iii _ _W Date: __/L\'\a/¢Qi'j{, 2217

 

Defendant’s Residence
Address:

Defendant’s Mailing
Address:

 

